           Case 2:15-cv-01435-WB Document 385 Filed 06/12/18 Page 1 of 1


           IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
                         DISTRICT OF PENNSYLVANIA



   HARVEY KALAN, M.D., et al.
   individually and on behalf of all others
   similarly situated,                             C.A. No.: 2:15-CV-01435-WB

   Plaintiffs,                                     CLASS ACTION

   vs.

   FARMERS & MERCHANTS TRUST
   CO., et al.

   Defendants.



   STIPULATION FOR EXTENSION OF TIME TO FILE PLAINTIFFS' MOTION FOR
             FINAL APPROVAL OF CLASS ACTION SETTLEMENT

         Plaintiffs, HARVEY KALAN, M.D., et al., and defendant FARMERS &

MERCHANTS TRUST CO., through their counsel, hereby stipulate to an extension

until June 15, 2018 for plaintiffs to file Plaintiffs' Motion For Final Approval Of

Class Action Settlement, Plan Of Allocation Of Settlement Proceeds, And Award Of

Attorneys' Fees And Reimbursement Of Expenses.

   THE SILVERSTEIN FIRM, LLC                  BUCHANAN INGERSOLL & ROONEY PC
   By: /s/ Ira Silverstein                    By: /s/ Jayson R. Wolfgang, Esq.
   Ira B. Silverstein                         Jayson R. Wolfgang, Esq.
   1515 Market St., Ste. 1200                 409 North Second Street, Suite# 500
   Philadelphia, PA 19102                     Harrisburg, PA 17101-1357
   Attorneys for Plaintiffs                   Attorneys for Defendant




Dated~"'-'.//"': 2018                          WENDY BEETLESTONE, J.
